STATE OF MINNESOTA _)
) ss. AFFIDAVIT OF DAVID LIGNEEL
COUNTY OF RAMSEY )

1. I am a licensed Peace Officer of the State of Minnesota and has
been for over 28 years. I am currently employed as a sergeant with the
Minneapolis Police Department (MPD) assigned to the Robbery Unit, and have
served in this capacity for over two years. I have been with the Minneapolis
Police Department for 26 years, and have served as an officer and sergeant in
the Patrol Division, and as an investigator with the MPD / Federal Bureau of
Investigation (FBI) Safe Streets Violent Gang Task Force for over 10 years. |
am also currently a Task Force Officer with the FBI, serving on the Violent
Crimes Task Force. In the execution of my duties, I have received training in
conducting investigations of Organized Crime and Street Gangs, financial
crimes investigations, basic narcotics investigations, how to utilize informants,
how to conduct social media investigations, as well as training in how to field-
test suspected narcotics, concealment methods used to hide narcotics in
vehicles, and basic search warrant writing. I have received training from a
number of different sources ranging from the U.S. Department of Justice,
Midwest County Drug Training Center, Minnesota Bureau of Criminal
Apprehension, and the Minneapolis Police Department.

2. This affidavit is submitted for the limited purpose of establishing

probable cause in support of issuing a complaint and arrest warrant for Derrick
John THOMPSON for possession with intent to distribute 40 grams or more of
a mixture and substance containing a detectable amount of N-phenyl-N-[1-(2-
phenylethyl)-4-piperidinyl] propanamide (“fentanyl”) in violation of Title 21,
United States Code, Sections 841(a)(1) and 841(b)(1)(B); possession of a firearm
by a felon in violation of Title 18, United States Code, Sections 922(g)(1) and
924(a)(8); and carrying a firearm during and in relation to a drug trafficking
crime, in violation of Title 18, United States Code, Section 924(c)(1)(A)(Q).

3. This affidavit is based on my personal knowledge, as well as
‘afoemetiion I have learned from other law enforcement officers and the review
of reports, written materials, and recordings. This affidavit does not include
all the details I have learned regarding this investigation. Rather, it only
includes information believed to be sufficient to establish probable cause.

PROBABLE CAUSE

4. On June 16, 2023, a trooper of the Minnesota State Patrol was
parked at a bus stop overwatching I-35W in South Minneapolis, Minnesota.
The trooper was using radar to check for speeding vehicles. At about 10:09
p.m., the trooper saw a black Cadillac Escalade speeding north on I-35W. The
trooper’s radar showed that the Cadillac Escalade was traveling 95 miles per
hour in a 55 mile per hour zone. The trooper began following the Cadillac

Escalade but was too far away to initiate his emergency lights to make a stop.
5. The driver of the Cadillac Escalade weaved around other vehicles,
then abruptly cut across four lanes of traffic to exit I-35W at the Lake Street
exit on 2nd Avenue South. The trooper advised his dispatch that he would not
initiate a traffic stop because the driver of the Cadillac SUV was driving
erratically, and the trooper did not want to cause the driver to continue to drive
recklessly on city streets.

6. The trooper saw the driver of the Cadillac Escalade continue to
speed north on 2nd Avenue South toward the intersection of 2nd Avenue South
and East Lake Street. The driver of the Cadillac Escalade sped through a red
light at the intersection without stopping or slowing. The Cadillac Escalade
struck at full speed the driver’s side of a Honda Civic that was traveling
lawfully through the intersection. The trooper called for emergency response
and responded to the intersection.

7. The trooper encountered a pedestrian who reported that a black
male had fled the Cadillac Escalade on foot through an alley. The trooper went
to the Honda Civic, and saw that all of the occupants of the vehicle had been
killed in the crash.

8. Officers of the Minneapolis Police Department responded to the
scene. A witness with the initials M.M. approached an officer and said he had
seen the driver of the Cadillac Escalade run from the crash to the back of a

nearby Taco Bell restaurant. M.M. described the driver as a black male with

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dreadlocks, a white t-shirt, and green pants.

S, Another witness with the initials D.P. told officers that she had
seen a man who was over 6’ tall running from the scene wearing a white t-
shirt, gray or green sweatpants, and a skull cap with shoulder-length
dreadlocks. D.P. said the man was running with a limp, and had a cut on his
forehead.!

10. Officers went to Taco Bell and saw a man (later identified as
THOMPSON) sitting on the curb. THOMPSON was wearing a white t-shirt
and green camouflage jeans. He had shoulder-length dreadlocks and appeared
over 6 tall. THOMPSON had a cut on his head that was bleeding.
THOMPSON also had blood on his hands, and officers could see he was visibly
sweating. THOMPSON was sitting next to a woman with the initials C.S.
Officers asked THOMPSON about his injuries, and THOMPSON said he had
fallen earlier, and that the injuries were old. However the injuries appeared
fresh to the officers. C.S. claimed that THOMPSON had been sitting next to

him for almost a half an hour, but said she did not know who THOMPSON

1 Another witness, with the initials A.M.O., said he heard a large crash
and saw an “Escalade flipping over.” A.M.O. said he ran to the scene and saw
two men get out of the Escalade and run. A.M.O. described one occupant as a
light-skinned 6’1 black male with ripped light blue jeans, and having
dreadlocks to his shoulders. A.M.O. said the other occupant was a dark-
skinned black male. A.M.O. said he walked away because he did not “want to
disrespect the dead.”

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was.

11. The officers detained THOMPSON. After confirming that
THOMPSON did not need emergency medical treatment himself, they drove
THOMPSON to the scene of the crash so that the trooper and other witnesses
could confirm or deny that he had been the man they saw flee from the Cadillac
Escalade. While sitting in the police vehicle, THOMPSON asked an officer
how long this would take, because it was Friday, and he had things to do.

12. Meanwhile, emergency responders confirmed that four adult
females and one juvenile female had been killed when the Cadillac Escalade
struck their Honda Civic. The ages of the victims were 28, 20, 19, 19, and 17.

13. When THOMPSON was returned to the scene, witness D.P. saw
THOMPSON, and indicated that she believed THOMPSON was the man she
saw running from the scene of the crash. D.P. reiterated that the driver had
been limping. As officers escorted THOMPSON back to the squad car, D.P.
saw THOMPSON limp, and said “One hundred percent, that is him.”

14. Officers noticed that THOMPSON’s demeanor changed as they
remained with him: he became uncommunicative and lethargic, and his eyelids
began to droop. THOMPSON was transported to the Hennepin County
Medical Center by ambulance for evaluation. Officers obtained a warrant to
draw a sample of his blood.

15. An officer on-scene found a Hertz rental record for the Cadillac

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Escalade lying on the ground near the front door of the Cadillac Escalade. The
name on the record was “Derrick Thompson.” The record indicated that the
Cadillac Escalade had been rented at 9:46 p.m. from a Hertz located at the
Minneapolis St. Paul (MSP) Airport earlier that night—approximately a half
hour before the crash. Officers of the MSP Police Department obtained
surveillance video from the airport Hertz, which showed THOMPSON at the
rental counter renting the vehicle that night.

16. Later that night, witness M.M. went to the Minneapolis Police
Department and shared with officers video he had taken of the crash. The
video shows a black male in a white shirt and tan pants limping toward M.M.’s
vehicle. The man can be heard asking M.M. for a ride, which M.M. refuses.
M.M. saw a photograph of THOMPSON, and said he believed THOMPSON
was the man who fled from the scene.

17. On June 17, 2023, I obtained a warrant to search the Cadillac
Escalade. On the front passenger floor was a black leather bag that had the
following:

e a Glock model 27 .40 caliber semiautomatic pistol bearing serial number
BWKAO73. The firearm was loaded, and had an extended magazine.

e Three bags containing a total of 2,169 blue “M-Box 30” pills that I
recognize in my training and experience to be fentanyl commonly
illegally sold by drug traffickers. The pills field-tested positive for
fentanyl, and weighed 238 grams without packaging.
e A plastic bag containing 14 additional grams of a substance that field-
tested positive for fentanyl.

e Thirteen pills that field-tested positive for MDMA (“ecstasy”).

e A plastic bag that contained 35 grams of a substance that field-tested
positive for cocaine.

18. Also on the front passenger floor was a yellow case containing a

digital scale with white powder residue, and a baggie of suspected marijuana.

Fig. 1: The firearm, magazine, and ammunition found in the Cadillac Escalade.
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Fig. 2: The controlled substances found in the Cadillac Escalade.

19. [know in my training and experience that this amount of fentanyl
is far more than a “user amount” that a fentanyl user would typically possess.
The amount and packaging are consistent with drug distribution and sales. I
also know that the presence of different types of controlled substances, and the
presence of a digital scale, are consistent with drug distribution.

20. Iknow in my training and experience that firearms are tools of the
drug trade. Drug traffickers often carry firearms to protect themselves from

being robbed of their controlled substances and cash. Drug traffickers also

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carry firearms to enforce sales, to collect drug debts, and to protect their drug
territory.

21. A review of THOMPSON’s Minnesota criminal history indicates
that, prior to June 16, 2023, he had been convicted of the following crime, which

was punishable by a term of imprisonment exceeding one year:

Offense Place of Conviction | Date of Conviction
(On or About)

Fifth Degree Drug Ramsey County, MN _ | October 1, 2015

Possession

22. THOMPSON was sentenced to a term of imprisonment of one year
and one day for this offense, and therefore knew that he had been convicted of
at least one crime punishable by a term of imprisonment exceeding one year.

23. THOMPSON also has a 2018 Ramsey County conviction of fleeing
a police officer in a motor vehicle.

24. THOMPSON’s criminal history also indicates a conviction from
California. I have reviewed a copy of THOMPSON’s National Crime
Information Center (NCIC) records. From my review of NCIC records, and
from consultation with colleagues in law enforcement, it is my understanding
that in 2018, THOMPSON was convicted after fleeing a police officer in a motor
vehicle while carrying multiple pounds of marijuana in California. During this
pursuit, THOMPSON struck and severely injured a pedestrian before hitting

a building with his vehicle and then fleeing on foot. THOMPSON appears to
have been convicted of hit and run causing permanent injury or death, and
conspiracy to commit a crime. He appears to have been sentenced to eight
years’ imprisonment.

25. I have consulted with an ATF Interstate Nexus Expert, who has
made a preliminary determination that the Glock model 27 .40 caliber
semiautomatic pistol bearing serial number BWKAO073 was not manufactured
in the State of Minnesota. As a result, the firearm had to travel in interstate
and/or foreign commerce prior to arriving in the State and District of
Minnesota on June 16, 2028.

26. Based on the information set forth above, there is probable cause
to believe that Derrick John THOMPSON violated Title 21, United States
Code, Sections 841(a)(1) and 841(b)(1)(B), by possessing with intent to
distribute 40 grams or more of a mixture and substance containing a detectable
amount of N-phenyl-N-[1-(2-phenylethyl)-4-piperidiny]] propanamide
(“fentanyl”); Title 18, United States Code, Sections 922(g)(1) and 924(a)(8), by
possessing a firearm as a felon; and Title 18, United States Code, Section
924(c)(1)(A)(i), by carrying a firearm during and in relation to a drug

trafficking crime.

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Further your Affiant sayeth not.

David Ligneel
Task Force Officer}

SUBSCRIBED and SWORN before me

by reliable electronic means via FaceTime and
email pursuant to Fed. R. Crim. P. 41(d)(8) on
June 21, 2023:

ELIZABETH COWAN WRIGHT
UNITED STATES MAGISTRATE JUDGE
DISTRICT OF MINNESOTA

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